            Case 1:18-cr-03475-WJ Document 23 Filed 02/21/19 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                     No. 18 CR 3475 WJ


ROBERT DUNSWORTH,

               Defendant.

                UNOPPOSED MOTION TO CONTINUE HEARING ON
                             APPEAL OF DETENTION ORDER

       COMES NOW, Robert Dunsworth, Defendant, by and through his undersigned

appointed counsel, Irma Rivas, Assistant Federal Public Defender, and moves to continue

his appeal of detention order and respectfully requests that the hearing set for February

25, 2019, be continued.

       In support of this motion, defense counsel states the following:

       1.      On January 18, 2019, Defendant filed an appeal of the order of detention by

Judge Karen B. Molzen. The Court set this for hearing on February 25, 2019.

       2.      Mr. Dunsworth would like the Court to have information about health

issues he suffers. Additional time, approximately 45 days, will allow his counsel to

request medical records in support of his motion.

       3.      Counsel for the Government, Thomas Outler, does not oppose the relief

requested.
          Case 1:18-cr-03475-WJ Document 23 Filed 02/21/19 Page 2 of 2



       WHEREFORE, the defendant respectfully requests this Court vacate the appeal

of detention order hearing of February 25, 2019 and continue the setting for 45 days in an

effort to provide counsel additional time to request medical records in support of his

appeal.

 I HEREBY CERTIFY THAT on                        Respectfully submitted,
 February 21, 2019, I filed the
 foregoing electronically through the            FEDERAL PUBLIC DEFENDER
 CM/ECF system, which caused                     111 Lomas Blvd., NW, Suite 501
 AUSA Thomas Outler to be served by              Albuquerque, NM 87102
 electronic means, as more fully                 (505) 346-2489
 reflected on the Notice of Electronic
 Filing.
                                                  /s/ Electronically filed 2/21/19
  /s/ Electronically filed                       IRMA RIVAS, AFPD
                                                 Attorney for Mr. Dunsworth




                                             2
